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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

DAVID L. SNYDER, in his capacity      )
as counsel for Andrew G. McCabe,      )
                                      )
                  Plaintiff,          )
      v.                              )                 No. 1:18-cv-1389-CKK
                                      )
U.S. DEPARTMENT OF JUSTICE, et al.,   )
                                      )
                  Defendants.         )
_____________________________________ )

                                   JOINT STATUS REPORT

       On July 26, 2018, the Court instructed the parties to file a Joint Status Report for this

case, in which Plaintiff asserts claims against the U.S. Department of Justice (“DOJ”), the DOJ’s

Office of the Inspector General (“OIG”) and the Federal Bureau of Investigation (“FBI”)

(collectively, “Defendants”), under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552

and the Administrative Procedure Act, 5 U.S.C. § 706. See Order, ECF Dckt. No. 13. After

conferring several times, including once in person, the parties filed a status report on August 16,

2018, asking to file a subsequent report by August 23, 2018. The parties filed a report on August

23, 2018, asking the Court to allow them to file a subsequent report on September 4, 2018.

Claims Against the FBI

       The parties disagree about whether Plaintiff has filed a proper FOIA request under 5

U.S.C. § 552(a)(2) and, if he did, whether the documents that Plaintiff seeks fall within the

categories of records covered by 5 U.S.C. § 552(a)(2). The parties have agreed to the following

briefing schedule: Defendants move for summary judgment as to the claims against the FBI by

October 5, 2018, Plaintiff files his response brief by November 2, 2018, and Defendants file their

reply brief by November 16, 2018.
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Claims Against the OIG

          OIG interpreted a communication from Plaintiff as a FOIA request seeking the Inspector

General Manual (“IG Manual”) and the manual for the Oversight and Review Division of the

Inspector General’s Office (“O&R Manual.”), along with its appendices.

          On August 14, 2018, the OIG completed its processing of the Master Table of Contents

to the IG Manual and produced it to Plaintiff without redaction. On Aug. 30, 2018, OIG released

a partially redacted copy of the O&R Manual, a copy of the list of appendices to the O&R

Manual with two minor redactions, and the first five appendices to the O&R Manual without

redactions.1 These productions totaled 171 pages. The remaining request, with some tentative

narrowing, encompasses about 850 more pages of documents to be processed.

          The parties have agreed on a schedule for processing these remaining pages. OIG will

process 100 pages-per-month,2 with productions of non-exempt documents or portions of

documents subject to the FOIA occurring on the last work day of every month (i.e., September

28, 2018; October 31, 2018, etc.), until the processing of the remaining 850 or so pages is

complete (around May 31, 20193).

                                   *       *      *       *      *

          OIG does not anticipate seeking an Open America stay; the FBI cannot, at this time, take

a definitive position regarding whether it will seek an Open America stay in this case. Finally, a




1
  Due to technical difficulties, Plaintiff did not receive the documents that OIG sent on August
30. They were re-sent by email and courier, and received by Plaintiff, on August 31.

2
 OIG has stated that it would process the tables of contents to the chapters of the IG manual first,
as these would allow plaintiff to better focus his request, allowing him to get the information that
he wants in the least amount of time possible.

3
    This is an estimate based on the current provisionally narrowed request for the IG Manual.
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Vaughn index and/or a declaration supporting any claimed exemptions may be required, but that

is not yet known.



 Date: September 4, 2018                      Respectfully submitted,

                                              CHAD A. READLER
                                              Acting Assistant Attorney General


                                              MARCIA BERMAN
                                              Assistant Branch Director

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